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 2   JASON HITT
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2751
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           Case No. CR-S-08-0123 GEB
                                   )
12                  Plaintiff,     )           STIPULATION AND [PROPOSED]
                                   )           ORDER CONTINUING JUDGMENT AND
13        v.                       )           SENTENCING FOR DEFENDANT
                                   )           SERAFIN GONZALEZ
14   SERAFIN GONZALEZ, and         )
     MIGUEL VALENICA,              )
15                                 )
                    Defendants.    )
16   ______________________________)
17        Plaintiff, United States of America, by its counsel, Assistant
18   United States Attorney Jason Hitt, and defendant Serafin GONZALEZ, by
19   his counsel Robert Peters, Esq., hereby stipulate and agree that the
20   judgment and sentencing currently set for Friday, December 19, 2008,
21   at 9:00 a.m. should be continued to Friday, January 23, 2009, at
22   9:00 a.m.
23   / / /
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /
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 1        The requested continuance is based upon the need of government
 2   counsel to locate important documentation from Probation prior to
 3   sentencing.
 4
 5                                              Respectfully Submitted,
 6                                              McGREGOR W. SCOTT
                                                United States Attorney
 7
 8   DATED:     December 18, 2008         By:   /s/Jason Hitt
                                                JASON HITT
 9                                              Assistant U.S. Attorney
10
11   DATED:     December 18, 2008         By:   /s/Jason Hitt
                                                Telephonically authorized to sign
12                                              for Mr. Peters on 12-18-08
                                                ROBERT PETERS, Esq.
13                                              Attorney for Serafin GONZALEZ
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 1                                          ORDER
 2        Based upon the representations and stipulation of counsel, IT IS
 3   HEREBY ORDERED that the judgment and sentencing set for December 19,
 4   2008, at 9:00 a.m., is continued to January 23, 2009, at 9:00 a.m.
 5   Dated:     December 18, 2008
 6
 7                                       GARLAND E. BURRELL, JR.
 8                                       United States District Judge

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